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                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division


 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, APRIL MUÑIZ,
 MARCUS MARTIN, NATALIE ROMERO,
 CHELSEA ALVARADO, JOHN DOE, and
 THOMAS BAKER,
                        Plaintiffs,
       v.
 JASON KESSLER, RICHARD SPENCER,
 CHRISTOPHER CANTWELL, JAMES
 ALEX FIELDS, JR., VANGUARD
 AMERICA, ANDREW ANGLIN,
 MOONBASE HOLDINGS, LLC, ROBERT
 “AZZMADOR” RAY, NATHAN DAMIGO,
 ELLIOTT KLINE a/k/a/ ELI MOSLEY,            Civil Action No. 3:17-cv-00072-NKM
 IDENTITY EVROPA, MATTHEW
 HEIMBACH, MATTHEW PARROTT a/k/a
 DAVID MATTHEW PARROTT,
 TRADITIONALIST WORKER PARTY,
 MICHAEL HILL, MICHAEL TUBBS,
 LEAGUE OF THE SOUTH, JEFF SCHOEP,
 NATIONAL SOCIALIST MOVEMENT,
 NATIONALIST FRONT, AUGUSTUS SOL
 INVICTUS, FRATERNAL ORDER OF THE
 ALT-KNIGHTS, MICHAEL “ENOCH”
 PEINOVICH, LOYAL WHITE KNIGHTS
 OF THE KU KLUX KLAN, and EAST
 COAST KNIGHTS OF THE KU KLUX
 KLAN a/k/a EAST COAST KNIGHTS OF
 THE TRUE INVISIBLE EMPIRE,
                        Defendants.



            PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES AND COSTS
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                                  PRELIMINARY STATEMENT

        Attorneys’ fee provisions, like the one at issue here in Section 8.01-42.1(B) of the Virginia

 Code, which provides a private right of action for acts of violence motivated by racial or religious

 animosity, are designed for the purpose of encouraging enforcement of the statute by private actors.

 That, of course, is exactly what Plaintiffs and their counsel have done here.

        When Plaintiffs filed this lawsuit back in October 2017, they had no way of knowing that

 it would take them more than four years to obtain a verdict against 17 Defendants who conspired

 to bring about racially and religiously motivated violence in Charlottesville, Virginia, on August

 11 and 12, 2017. Neither Plaintiffs nor their counsel could have predicted the utter disregard for

 this Court and the legal process demonstrated by Defendants—a disregard that would stymie

 discovery and protract this litigation to such an extent that the Court has already granted, at least

 in part, 12 separate motions for sanctions based on Defendants’ abuse of the discovery process.

 Nor did Plaintiffs envision the lengths to which Defendants would go, including incarceration for

 civil contempt, to avoid fulfilling their most basic discovery obligations in this case.

        Nevertheless, Plaintiffs persevered, with their counsel expending time and resources that

 would have been wholly unnecessary were it not for Defendants’ never-ending recalcitrance, not

 to mention being the object of threats and insults to which few parties or counsel would voluntarily

 subject themselves. In light of these circumstances, it is not surprising that in these past four years,

 no other lawsuit—civil or criminal—challenging the illegal conspiracy that was at the core of

 Unite the Right has been litigated on the merits and decided by a jury.

        Indeed, the circumstances present here are exactly those for which attorneys’ fee provisions

 were designed. Enforcing the Virginia hate-crime statute’s fee-shifting provision in this case,

 intended by the legislature to act as a deterrent, would not only signal to future bad actors that they

 should think twice before engaging in similar violent misconduct motivated by racial and religious
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 animus, but would signal to future victims of such illegal conduct that the risk of vindicating their

 rights under the statute is one worth taking.

                      FACTUAL AND PROCEDURAL BACKGROUND

        A.      Plaintiffs Had the Courage to Step Forward to Pursue This Case

        The negative impacts of the events that took place in Charlottesville, Virginia, on August

 11 and 12, 2017, continue to resonate today, more than four years later. Many individuals, like

 Plaintiffs, are still suffering from the physical and emotional injuries they sustained during those

 two days in Charlottesville. See, e.g., ECF 1378 at 63:15–20, 69:13–14; ECF 1382 at 17:6–17,

 109:17–23; ECF 1401 at 220, 223:20–224:2, 225:5–8; ECF 1419 at 25–26, 30:1–5; ECF 1428 at

 72:4–76:7. But the repercussions from the hate-driven conspiracy that was Unite the Right have

 an even broader reach which should not be understated. It is surely no coincidence that many who

 participated in Unite the Right also participated in the January 6, 2021 Capitol insurrection. See,

 e.g., Tess Owen, White Nationalists Who Marched in Charlottesville Hit with Jan. 6 Subpoenas,

 Vice News (Jan. 20, 2022), https://tinyurl.com/47a3r3he; Michael Kunzelman, ‘Baked Alaska,’

 far-right troll charged in Capitol riots, avoids house arrest, Associated Press (June 6, 2021),

 https://tinyurl.com/mwc5uwy8.

        Yet to this day, more than four years after Unite the Right, Plaintiffs are still the first and

 only ones to have taken on the burden—including the time and resources, not to mention the threats

 from Defendants, see infra at p. 21—of legally challenging this civil conspiracy to commit racially

 and religiously motivated harassment and violence on the merits, and of convincing a jury to hold

 accountable those responsible for organizing and carrying out the violence at Unite the Right.

        B.      From the Very Beginning, Defendants’ Recalcitrance Required Plaintiffs to
                Expend Inordinate Time and Resources

        Defendants’ disregard for the law, the rules, and the orders of this Court made this litigation



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 inordinately and unnecessarily difficult, time-consuming, and resource-intensive from the start.

 After Plaintiffs filed their Complaint on October 11, 2017,1 it literally took months just to serve

 all 25 Defendants. See, e.g., ECF 215 (Fraternal Order of the Alt-Knights (“FOAK”) first served

 on 12/21/2017); ECF 239 (Loyal White Knights of the KKK (“LWK”) first served on 2/1/2018).

 Unable to personally serve some Defendants after numerous attempts, Plaintiffs had no choice but

 to resort to service via the Secretary of the Commonwealth. See, e.g., ECF 198, 217, 219.

          Yet even after the significant effort that went into properly serving the Complaint on every

 one of the 25 Defendants, many of them failed to respond. See ECF 268–71. Yet others attempted

 (improperly) to proceed pro se despite their entity status. See ECF 155, 275. As a result, early in

 the case, Plaintiffs obtained defaults against six Defendants. See ECF 210, 268–71, 280.2

          C.       Plaintiffs Successfully Opposed Numerous Motions to Dismiss the Complaint

          Defendants filed 12 separate motions to dismiss the complaint. See ECF 93, 99, 104, 111,

 113, 115, 117, 136, 138–39, 141, 143. After Plaintiffs filed an amended complaint, Defendants

 filed another six motions to dismiss. See ECF 201–02, 205, 207, 209, 212. All told, there were

 over 260 pages of briefing in connection with the motions to dismiss in this case, see ECF 94, 100,

 105, 112, 114, 116, 118, 137, 140, 142, 144, 145, 204, 206, 209, 213, 231, 251, 253, 520–21, 664,

 including numerous frivolous arguments by Defendants, such as Defendants’ contention that the

 violence at Unite the Right was somehow protected by the Second Amendment, see ECF 231 at

 44–45; ECF 335 at 57–58. Following oral argument, the Court largely denied Defendants’

 motions, dismissing only Plaintiffs’ claims against Michael Peinovich and Plaintiff Hannah


 1
   The 96-page complaint featured approximately 51 posts from the social media platform Discord and more than 20
 other sources, including Twitter, Facebook, the white supremacist website the Daily Stormer (of which Defendant
 Andrew Anglin was an editor and Defendant Robert “Azzmador” Ray was a writer), and Defendant Christopher
 Cantwell’s podcast The Radical Agenda. See ECF 1.
 2
   Plaintiffs later obtained a default against a seventh Defendant, the Nationalist Front, which participated in early
 stages of the lawsuit but later abandoned the litigation, as described in Plaintiffs’ Motion for Default Judgment filed
 concurrently with this motion. See ECF 967, 1136.


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 Pearce’s claims against the moving Defendants, and narrowing the scope of the Va. Code § 8.01-

 42.1 claims (except those against Fields, who did not move to dismiss) to injuries from the violence

 at the August 11 torchlight rally. See ECF 335–36.

        D.      Plaintiffs Spent Close to Four Years in Pursuit of Discovery

        Defendants severely exacerbated the length and expense of this litigation by engaging in

 egregious discovery misconduct, forcing Plaintiffs to expend time and resources that otherwise

 would not have been necessary in order to pursue their claims.

                1.      Defendants Refused to Timely and Meaningfully Respond to Plaintiffs’
                        Discovery Requests

        Plaintiffs served their first document requests and interrogatories on Defendants on January

 25, 2018. See ECF 539 at 12; ECF 933 at 8–9. Defendants’ responses were due by February 26,

 2018. See ECF 539 at 12; ECF 933 at 9. But Defendants failed to timely and meaningfully respond.

 Instead, as of mid-March 2018, Plaintiffs had not received a single document from any Defendant.

 See ECF 539 at 12; ECF 933 at 9. Various Defendants responded months after the fact without

 providing any legitimate explanation for their delay. See ECF 354 at 3 n.1. And even when

 Defendants did respond, their responses were deficient. See id. at 3–4. In fact, in the period leading

 up to October 2018, only five Defendants in the case (Christopher Cantwell, Nathan Damigo, Jason

 Kessler, Matthew Parrott, and Richard Spencer) produced any documents at all. See id. at 4.

        At the same time, Defendants were publicly stating that they intended to destroy, or had

 already destroyed, evidence in the case. For example, in February 2018, Defendant Parrott posted

 on Facebook, “If you were involved in any altercation in Cville, and you haven’t disabled your

 social media, you should do so.” ECF 354-3 at 5. And in March 2018, he posted on the social

 networking website Gab, “All of the information systems [of the Traditionalist Worker Party

 (“TWP”)] are completely air-gapped and will be destroyed within a few hours in order to guarantee



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 all membership information literally no longer exists anywhere.” ECF 272-2 at 2. Plaintiffs were

 forced to expend significant time and resources tracking Defendants’ efforts to evade discovery so

 that they could be brought to the Court’s attention, in an effort to try to ensure the preservation of

 relevant evidence. See ECF 272, 354.

        As a result of this behavior by Defendants, over the course of the litigation, Plaintiffs would

 ultimately be forced to file approximately 50 discovery motions. See, e.g., ECF 272, 330, 354,

 432, 457, 465, 547, 551, 565, 601, 650, 652, 671, 673–74, 689, 713, 750, 792, 794, 803, 816, 820,

 859–60, 894, 898, 1003, 1011, 1266. Despite these efforts, as of October 2018, Defendants had

 still produced almost no documents and offered little explanation other than to baldly assert that

 their virtually non-existent document productions were adequate. See ECF 354 at 4.

        Further complicating and prolonging matters was the fact that, over the course of the

 litigation, Defendants’ attorneys filed ten separate motions to withdraw. See ECF 344, 357, 372,

 420, 459, 530, 544, 691, 727, 1171. At the beginning of the case, for instance, Elmer Woodard and

 James Kolenich represented 13 Defendants. See ECF 131. By the end of the case, they represented

 only three. See ECF 1522 at 10. In support of their motions, Defendants’ counsel explained that

 their clients had, among other things, failed to comply with counsel’s “instructions or requests

 regarding discovery obligations” or “existing Court orders,” ECF 460 at 1; “sent allegedly

 threatening internet communications directed at Ms. Kaplan, lead attorney for the Plaintiff’s,” ECF

 531 at 2; and “rendered Attorney’s continued representation . . . unreasonably difficult,” id.; see

 also, e.g., id. (noting client had “engaged in conduct Attorney’s (sic) consider ‘repugnant’”).

        Defendants’ discovery misconduct continued even once they were pro se. On one end of

 the spectrum, certain pro se Defendants disappeared from the litigation entirely, like Robert

 “Azzmador” Ray and Elliott Kline. See infra, e.g., pp. 7–9. Other pro se Defendants filed an




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 unending litany of motions—in Cantwell’s case, 40 motions in total at the time of this filing,

 including at least 22 frivolous pretrial motions and motions in limine that were denied before trial.

 See, e.g., ECF 1056, 1066, 1077, 1085, 1088, 1090, 1096, 1098–99, 1109, 1119, 1121–23, 1132–

 33, 1157–58, 1160, 1162, 1262, 1298.

                2.      Despite Defendants’ Continued Misconduct, Plaintiffs Managed to
                        Obtain Discovery

        On October 2, 2018, Plaintiffs moved to compel all Defendants (except Fields) to permit

 the imaging of Defendants’ electronic devices and social media accounts by a neutral third-party

 vendor. See ECF 354. The Court granted Plaintiffs’ motion, finding that “ordering the parties to

 submit their electronic devices to a third-party vendor for imaging . . . [was] necessary and

 appropriate to manage discovery in this action.” ECF 379 at 1 (the “imaging order”). As the Court

 later explained, “Plaintiffs had waited almost ten months for Defendants to produce the requested

 documents,” which was “a significant delay,” and “there were still concerns that ‘some relevant

 information may have been lost.’” ECF 933 at 10 (citations omitted). “Plaintiffs agreed to front

 the costs of imaging and collecting this ESI, at least for the time being, to keep the case moving

 forward,” id., but reserved the right to later seek recoupment of their upfront costs, see ECF 379.

        Despite the Court’s Order, Defendants continued to evade their discovery obligations.

 Many Defendants refused to submit their devices to the vendor, failed to disclose correct social

 media accounts and passwords, lacked any explanation for why their devices and accounts were

 devoid of responsive material, and entirely ignored the process set up by the Court’s Order. See,

 e.g., ECF 432, 547, 650, 652, 671, 673, 894. For example, Defendant Matthew Heimbach, a

 prolific writer on social media, admitted that he “didn’t take any steps to preserve anything [he]

 posted on any social media account,” claimed that “every single social media account . . . that

 concerns the Unite the Right has been either disabled or deleted since [he was] sued in this case,”



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 and failed to produce nearly any posts from his numerous accounts—all despite continuing to post

 about the case throughout the litigation. See ECF 1006 at 2–4. Defendants also resorted to “the

 dog ate my homework” type of excuses such as Jeff Schoep’s claim that his phone had “fallen in

 the toilet.” See, e.g., ECF 547 at 1. At times, Defendants lied outright. See, e.g., ECF 610 (finding

 Kline’s assertions “incredible” and holding him in contempt). And they conspired in plain view,

 advising each other to avoid complying with discovery. See, e.g., ECF 936 at 16 n.9; ECF 716-4,

 716-9. Even after the Court issued the imaging order, Plaintiffs were forced to expend time and

 resources filing yet another seven motions to compel. See ECF 547, 671, 673, 674, 689, 792, 803.

        Despite these many challenges, by the end of the case, Plaintiffs had managed to collect

 more than 1.5 million documents from approximately 62 custodians, including more than 356,000

 images and over 6,000 audiovisual files. See Declaration of Yotam Barkai (“Barkai Declaration”

 or “Barkai Decl.”) ¶ 17. Plaintiffs introduced about 770 exhibits at Defendants’ 16 depositions, for

 which Plaintiffs traveled to six cities. See id. ¶ 13. As with most aspects of this case, these

 depositions posed their own time- and resource-wasting disruptions. For instance, Defendants

 Kline and Ray failed to appear for their properly noticed depositions numerous times. See, e.g.,

 ECF 815, 877. Each of these no-shows required Plaintiffs to invest additional time and resources

 preparing for the depositions and working to secure Defendants’ compliance and participation,

 including filing motions to compel, e.g., ECF 792, 803, and for sanctions, described below.

                3.      Plaintiffs Succeeded in Having Meaningful Discovery Sanctions
                        Imposed

        To address the discovery misconduct described above, Plaintiffs were forced to move for

 sanctions no fewer than 12 times. See, e.g., ECF 432, 457, 465, 565, 601, 671, 713, 750, 894, 898,

 1003, 1028. All of Plaintiffs’ motions were granted at least in part, if not in full. See, e.g., ECF

 483, 540, 599, 933, 936, 982, 1039, 1106, 1237, 1295. As the Court explained, sanctions were



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 clearly warranted where, as here, a defendant “acted in bad faith by stonewalling and ignoring the

 Court’s orders over the previous eighteen months.” ECF 936 at 13. The Court went on to observe:

        . . . such misconduct must obviously be deterred lest anyone else think he or she
        can behave this way in federal court . . . Vanguard’s repeated and ongoing
        misconduct so far had caused significant procedural prejudice to Plaintiffs’ ability
        to resolve their claims in a just, speedy, and inexpensive manner . . . [and] Plaintiffs
        expended enormous resources dealing with Vanguard’s unacceptable delays,
        obfuscations, and disregard for both their proper discovery requests and this Court’s
        many orders trying to enforce them.

 Id. (cleaned up). Similarly, the Court found that:

        Ray’s track-record of failing to fulfil his discovery obligations in a timely manner
        made him especially ill-suited to participate in a discovery process that is predicated
        upon one’s prompt and good faith compliance with discovery obligations.

 ECF 933 at 14 (cleaned up).

        As a result, the Court ordered financial as well as evidentiary sanctions in Plaintiffs’ favor,

 including instructing the jury that Defendants Kline and Ray had “entered into an agreement with

 one or more coconspirators to engage in racially motivated violence”; “were motivated by animus

 against racial minorities, Jewish people, and their supporters when conspiring to engage in acts of

 intimidation and violence”; “intended” and could “reasonably foresee[]” “that coconspirators

 would commit acts of racially-motivated violence and intimidation”; and, after Unite the Right,

 “ratified the racially-motivated violence.” ECF 1461 at 29–30. The jury was further instructed that

 it could infer that Defendants Heimbach, Kline, NSM, Ray, and Vanguard “intentionally withheld

 or destroyed documents and electronically stored information.” Id. at 33.

        Plaintiffs also succeeded in having the Court take the extreme measure of holding Kline

 and Ray in contempt, ordering a warrant for Ray’s arrest and taking Kline into custody. See ECF

 599, 610, 877. Even after holding Kline in custody for two days, the Court explained that he had

 not yet “purged himself of contempt” or shown he was able to “comply with this Court’s orders.”



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 See ECF 634 at 4. Instead of additional jail time, the Court imposed evidentiary sanctions to “move

 the case forward on the merits.” See id. (cleaned up). And even after the Court held that Ray could

 “purge himself of contempt, and thereby secure his release from detention, by appearing at a

 deposition,” ECF 877 at 8, Ray avoided arrest and failed to appear for his deposition (or at trial).

          Finally, the Court awarded Plaintiffs $135,782.50 in fees in connection with Plaintiffs’

 numerous successful motions for sanctions or to compel. See ECF 738, 739, 1485, 1486.3

                    4.       Plaintiffs Were Forced to Seek Discovery from Numerous Third
                             Parties

          It is not uncommon for relevant discovery materials to be in the possession of third parties.

 Here, however, much of the third-party discovery was necessitated by Defendants’ refusal to

 comply with their own discovery obligations. For example, Defendants failed to grant access to

 their social media accounts or, in many instances, their accounts had been shut down by the host

 platforms due to their offensive content. As a result, Plaintiffs needed to pursue discovery directly

 from the social media companies, including Discord, Twitter, Gab, and Facebook, in order to

 obtain posts related to Unite the Right. See Barkai Decl. ¶ 15(a). Plaintiffs likewise had to pursue

 discovery directly from cellular phone providers, including AT&T, Verizon, Sprint, and T-Mobile,

 in order to show the extent of Defendants’ communications with other Defendants and third parties

 leading up to and during the weekend of August 11 and 12, 2017. See id.

          In total, Plaintiffs served at least 92 subpoenas on approximately 60 non-parties. See Barkai

 Decl. ¶ 15. In several cases, time-consuming and laborious negotiations with those third parties

 were necessary in order to obtain the discovery to which Plaintiffs were entitled. For example,

 Plaintiffs first subpoenaed Discord, a key source of evidence in this case, on January 2, 2018. See



 3
   Plaintiffs respectfully request that the Court reduce its prior decisions awarding attorneys’ fees to Plaintiffs to a final
 judgment enforceable against Defendants.


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 Barkai Decl. ¶ 15(b). But it was not until more than ten months later, after an extensive series of

 meet-and-confers, that Discord finally began producing documents on November 20, 2018. See id.

 That production was followed by 13 further productions, stretching from December 14, 2018, to

 November 5, 2020. See Barkai Decl. ¶ 15(b). After almost three years of pursuing discovery from

 Discord, Plaintiffs obtained approximately 575,000 Discord posts, many of which featured

 prominently at trial. See, e.g., ECF 1389 at 32–33, 38, 43, 49; ECF 1393 at 178–79.

         Plaintiffs also took 17 third-party depositions, traveling to four cities to do so.4 See Barkai

 Decl. ¶ 16. There were approximately 600 exhibits introduced at these depositions, and several

 third-party deposition videos were designated and played at trial. See, e.g., ECF 1393 at 207; ECF

 1401 at 66; ECF 1407 at 11–12, 116–18; ECF 1419 at 247; ECF 1422 at 16; ECF 1428 at 166.

                                                    * * *

         In addition to all of the discovery and motions described above, the parties to this action

 collectively served approximately 78 total sets of interrogatories, requests for production, and

 requests for admission, and filed a total of approximately 249 motions. See Barkai Decl. ¶ 14.

         E.       Plaintiffs Prevailed Following a Four-Week Jury Trial

         As the Court knows all too well, the trial in this case was long and intense, lasting more

 than four weeks (22 trial days), the longest civil trial to date in the Western District of Virginia.

 ECF 1479 at 20. The trial was rescheduled multiple times, each time requiring Plaintiffs to adjust

 staffing and stop-and-start preparations. For example, in April 2019, the Court continued the July

 8, 2019 trial date indefinitely, citing the “complicated nature of discovery” and the “number of

 discovery disputes.” ECF 461. The case was eventually rescheduled for trial in October 2020, see

 ECF 597, and had to be rescheduled two more times due to the COVID-19 pandemic. See ECF


 4
  Most of the depositions in the case took place via videoconference by Zoom due to the COVID-19 pandemic, which
 also saved time and money compared to in-person depositions.


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 844, 903, 924. Thirty-five witnesses testified at trial (including by deposition). See ECF 1477.5

 There were 949 exhibits admitted. See ECF 1476.6 The trial transcript spanned close to 4,100

 pages. See ECF 1317, 1324, 1339, 1366, 1378, 1382, 1389, 1393, 1397, 1401, 1407, 1413, 1419,

 1422, 1428, 1431, 1443, 1454, 1458, 1469, 1472, 1479.

          After working tirelessly for more than a month, Plaintiffs’ attorneys achieved a resounding

 victory for their clients. The jury returned a verdict in Plaintiffs’ favor on four of six claims (Counts

 III, IV, V, and VI); hung on the remaining two claims (Counts I and II); and awarded Plaintiffs a

 total of $26 million in damages. See ECF 1478.

          F.       Plaintiffs’ Approach to This Motion

          Plaintiffs took as conservative an approach as possible in connection with preparing this

 Motion. First and most importantly, at any one point in time, each firm is seeking fees for no more

 than six timekeepers, even though the total number of attorneys working on this case from each

 firm was far greater—up to 16 to 23 timekeepers per firm at any given time (as well as contract

 attorneys retained to conduct document review). See Barkai Decl.; Declaration of Karen Dunn

 (“Dunn Decl.”); Declaration of Jessica Phillips (“Phillips Decl.”); Declaration of Alan Levine

 (“Levine Decl.”); see also Declaration of David C. Dinielli (“Dinielli Decl.”) ¶ 27(f) (finding

 Plaintiffs’ approach reasonable). As a result, Plaintiffs limited their fee request to just 26 of the

 dozens of timekeepers who worked on this case over the course of more than the past four years.

          Second, in accordance with the prior orders of this Court, see ECF 738, 739, 1485, 1486,

 attorneys reviewed each firm’s time entries, removing any attorney hours for non-legal or




 5
   A total of 160 individuals were listed as proposed witnesses across the parties’ witness lists. See ECF 1042–43,
 1045–47, 1100–01, 1141, 1240–41.
 6
   A total of 4,082 proposed exhibits were listed across the parties’ exhibit lists. See 1140, 1061, 1068-70, 1081, 1107,
 1142, 1239, 1283, 1351, 1370, 1380.


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 administrative tasks, and applying limited privilege redactions.7 See Barkai Decl. ¶ 23. Many time

 entries were modified or removed entirely for these reasons. Third and finally, instead of applying

 their standard New York and Washington, D.C. market rates ranging from approximately $250 to

 over $1500, Plaintiffs’ counsel applied local market rates for Charlottesville, Virginia, ranging

 from $100 to $450/hour, which, with the exception of $450/hour for the most experienced lawyers

 (Roberta Kaplan, Karen Dunn, and Alan Levine), have all been previously determined and

 approved by Magistrate Judge Hoppe. See ECF 738, 739, 1485, 1486.

                                     REQUEST FOR FEES AND COSTS

          As outlined in the Barkai, Dunn, Phillips, and Levine Declarations and Exhibit A to each,

 Plaintiffs are seeking a total of $12,726,103.85 in attorneys’ fees for 46,950.2 hours of attorney

 and paralegal time devoted to successfully litigating their Va. Code § 8.01-42.1 and interrelated

 claims, including:

                Litigation Phase8                           Date Range              Hours                 Fees
           Investigation & Complaint                        Aug. 24 –               317.9             $69,160.00
                                                           Oct. 10, 2017
                Motions to Dismiss                        Oct. 11, 2017 –           903.4            $252,247.50
                                                           Mar. 6, 2018
       Discovery & Summary Judgment                        Mar. 7, 2018 –         30,666.1          $8,302,588.00
                                                           Aug. 23, 2021
        Pretrial Disclosures & Motions                      Aug. 24 –              8,098.7          $2,233,788.00
                                                           Oct. 24, 2021

                         Trial                               Oct. 25 –             6,624.7          $1,941,880.00
                                                           Nov. 23, 2021
            Motion for Fees & Costs                       Nov. 24, 2021 –           339.4             $73,677.00
                                                           Mar. 2, 2022



 7
   At the Court’s direction, Plaintiffs are prepared to provide unredacted versions of their counsel’s time entries for the
 Court’s in camera review.
 8
   While Plaintiffs have assigned fees to various phases of the litigation, there is necessarily overlap between the
 different phases. For example, discovery work began during the “Motion to Dismiss” phase and continued into the
 “Pretrial Disclosures & Motions” phase.


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                Litigation Phase8                         Date Range             Hours                Fees
                Prior Fee Motions9                                                               -$147,236.65
                                          TOTAL                                 46,950.2        $12,726,103.85

           Plaintiffs are also seeking $1,812,439.30 in litigation costs, as detailed in Exhibits B-V to

 the Barkai Declaration, including the following:

                                     Category of Costs                                                Amount
     Fees of the clerk and marshal (28 U.S.C. § 1920(1))                                             $16,114.74
     Fees for printed or electronically recorded transcripts necessarily obtained                   $241,908.99
     for use in the case (28 U.S.C. § 1920(2))
     Fees for exemplification and costs of making copies of any materials where                     $287,994.73
     the copies are necessarily obtained for use in the case (28 U.S.C. § 1920(4))
     Third-party discovery vendor, iDS (ECF 383)                                                   $1,266,420.84
                                                                                      TOTAL        $1,812,439.30

                                                   ARGUMENT

           Statutory provisions to shift attorneys’ fees to successful litigants in high-impact civil-

 rights cases are integral tools in the “arsenal of remedies available to combat violations of civil

 rights.” Evans v. Jeff D., 475 U.S. 717, 732 (1986). By incentivizing parties to bring suit, a civil-

 rights statute’s fee-shifting provisions can “promote the vigorous enforcement” of the statute’s

 substantive provisions and advance the statute’s underlying public-policy goals. See

 Christiansburg Garment Co. v. E.E.O.C., 434 U.S. 412, 422 (1978); see also Brandon v. Guilford

 Cnty. Bd. of Elections, 921 F.3d 194, 200 (4th Cir. 2019) (fee shifting “enable[s] potential plaintiffs

 to obtain the assistance of competent counsel in vindicating their rights” (citation and quotation

 marks omitted)); Wilkins v. Peninsula Motor Cars, Inc., 587 S.E.2d 581, 584 (Va. 2003) (fee

 shifting “encourage[s] private enforcement of the provisions of the statute”). Indeed, a civil-rights


 9
   Plaintiffs are not seeking the $147,236.65 in fees that they already pursued in prior fee applications, all of which
 were awarded at least in part. See ECF 738, 739, 1485, 1486. The relevant time entries have not been removed from
 the exhibits to the Barkai, Dunn, Phillips, and Levine Declarations; however, as shown in the table above, Plaintiffs
 have subtracted the amount sought in prior fee motions from the total amount of fees they are seeking here.


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 statute’s fee-shifting provisions work in tandem with its other provisions to deter wrongdoing and

 ensure that “wrongdoers make whole those whom they have injured.” Indep. Fed’n of Flight

 Attendants v. Zipes, 491 U.S. 754, 762 (1989); accord Brat v. Personhuballah, 883 F.3d 475, 481

 (4th Cir. 2018). Awarding meaningful fees under a fee-shifting provision is especially important

 where, as here, the legal complexity and political and financial risks associated with enforcing a

 particular civil-rights statute may discourage private entities from taking on such a case. See

 Dinielli Decl. ¶ 22 (noting only a firm with specific capabilities could take on this case).

 I.      Plaintiffs’ Requested Fees Are Reasonable and Should Be Awarded

         A.      Legal Standard

         Under Va. Code § 8.01-42.1(B), a prevailing party “shall be entitled . . . in the discretion

 of the court to an award of . . . reasonable attorney fees in an amount to be fixed by the court.” In

 awarding fees, a court considers not just the time spent on a Section 8.01-42.1 claim, but also on

 any “interrelated” claims. See, e.g., Knussman v. Maryland, 73 F. App’x 608, 613 (4th Cir. 2003)

 (quoting Hensley v. Eckerhart, 461 U.S. 424, 433 (1983)); Salim v. Dahlberg, No. 1:15-CV-468,

 2016 WL 2930943, at *2 (E.D. Va. May 18, 2016). Critically, Plaintiffs are not aware of a single

 published opinion that did not grant, at least in part, a request for fees under this statute.

         In assessing fee awards, federal courts in the Fourth Circuit apply a three-step analysis

 known as the “lodestar” method, which is “analogous” to the method employed by the Virginia

 courts. See, e.g., McAfee v. Boczar, 738 F.3d 81, 88 (4th Cir. 2013); ECF 738 at 7 (applying

 lodestar method to prior fee award in this case); ECF 1485 at 5 (same); ECF 1486 at 4–5 (same);

 Lambert v. Sea Oats Condo. Ass’n, Inc., 798 S.E.2d 177, 183 (Va. 2017); Schlegel v. Bank of Am.,

 N.A., 628 S.E.2d 362, 369 (Va. 2006). First, the court “determine[s] a lodestar figure by

 multiplying the number of reasonable hours expended times a reasonable rate.” Robinson v.

 Equifax Info. Servs., LLC, 560 F.3d 235, 243 (4th Cir. 2009). In conducting this analysis, courts


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 in the Fourth Circuit look to the factors set forth in Johnson v. Georgia Highway Express, Inc.,

 488 F.2d 714, 717–19 (5th Cir. 1974) (the “Johnson factors”):

          (1) [t]he time and labor expended; (2) the novelty and difficulty of the questions
          raised; (3) the skill required to properly perform the legal services rendered; (4) the
          attorney’s opportunity costs in pressing the instant litigation; (5) the customary fee
          for like work; (6) the attorney’s expectations at the outset of the litigation; (7) the
          time limitations imposed by the client or circumstances; (8) the amount in
          controversy and the results obtained; (9) the experience, reputation, and ability of
          the attorney; (10) the undesirability of the case within the legal community in which
          the suit arose; (11) the nature and length of the professional relationship between
          attorney and client; and (12) attorneys’ fees awards in similar cases.

 Barber v. Kimbrell’s, Inc., 577 F.2d 216, 226 & n.28 (4th Cir. 1978) (adopting Johnson factors).

 As the Johnson factors “substantially overlap” with the relevant factors under Virginia law, Salim,

 2016 WL 2930943, at *3, federal courts adjudicating fee petitions under Virginia law often

 perform an analysis incorporating both sets of factors. See, e.g., W. Insulation, LP v. Moore, 362

 F. App’x 375, 380 & n.5 (4th Cir. 2010) (considering Johnson and Virginia factors).10

          Second, the court “subtract[s] fees for hours spent on unsuccessful claims unrelated to

 successful ones.” McAfee, 738 F.3d at 88 (emphasis added); see also Salim, 2016 WL 2930943, at

 *4. However, fees should “be awarded for time spent on unsuccessful claims if such claims are

 interconnected to the successful claims, i.e., the claims rest on the same facts or related legal

 theories.” Taylor v. Republic Servs., Inc., No. 1:12-CV-00523, 2014 WL 325169, at *7 (E.D. Va.

 Jan. 29, 2014) (emphasis added). And third, the court awards a “percentage of the remaining

 amount, depending on the degree of success enjoyed by the plaintiff.” McAfee, 738 F.3d at 88; see

 also Salim, 2016 WL 2930943, at *4.




 10
   Relevant factors under Virginia law include “the time and effort expended by the attorney, the nature of the services
 rendered, the complexity of the services, the value of the services to the client, the results obtained, whether the fees
 incurred were consistent with those generally charged for similar services, and whether the services were necessary
 and appropriate.” Schlegel, 628 S.E.2d at 369.


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        B.      Plaintiffs’ Requested Hourly Rates Have Previously Been Approved by the
                Court and Are Reasonable

        The Court has already approved the following rates: (1) Partners/Counsel: $400/hr; (2)

 Associates: $225/hr; and (3) Case Managers/Paralegals: $100/hr. See ECF 738 at 11–12, 22; ECF

 1485 at 8–9; ECF 1486 at 8–9. Only the hourly rate of $450 for Senior Partners (Ms. Kaplan, Ms.

 Dunn, and Mr. Levine), for whom Plaintiffs have not previously sought fees, has yet to be

 considered by this Court. All of the rates being sought, including for Senior Partners, are consistent

 with prevailing rates in the Charlottesville area. See ECF 738 at 10, 12 (approving Plaintiffs’

 previously requested rates as consistent with “prevailing market rates for this type of work in the

 relevant community” and “the presiding District Judge’s fee awards for similar work” (cleaned

 up); ECF 1486 at 8–9 (same); see also Salim, 2016 WL 2930943 at *15 (awarding $500/hr for lead

 counsel and $110/hr for paralegal in “straightforward” litigation under Va. Code § 8.01-42.1); Cab

 Siquic v. Star Forestry, LLC, No. 3:13-CV-00043, 2016 WL 1650800, at *2 (W.D. Va. Apr. 22,

 2016) (finding rates reasonable up to $450/hr); see also ECF 505 at 6–7, ECF 929 at 9–10

 (collecting cases). These rates are also appropriate given the skill, ability, and experience of

 Plaintiffs’ counsel (Johnson factors 3 and 9). See ECF 738 at 11–12 (approving requested rates in

 this case based on “attorneys’ qualifications” and “skill and professionalism required to represent

 [Plaintiffs’] interests while dealing with the ‘unique and complicated [discovery] challenges’”);

 ECF 1486 at 9 (acknowledging Plaintiffs’ attorneys’ “exceptional qualifications and notable legal

 experience”); Schlegel, 628 S.E.2d at 369 (considering similar factors under Virginia law); Barkai

 Decl. ¶ 4; Dunn Decl. ¶¶ 6–11; Phillips Decl. ¶¶ 6–10; Levine Decl. ¶¶ 4–10; infra at Part I.C.2.

        C.      Plaintiffs’ Fee Request Is Based on a Reasonable Number of Hours

                1.      Effort Expended on All Interrelated Claims (Johnson Factor 1)

        As discussed above, Plaintiffs are entitled to fees for their Section 8.01-42.1 claim (Count



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 IV)11 and any “interrelated” claims. See, e.g., Salim, 2016 WL 2930943, at *2. Claims are

 interrelated where they “involve a common core of facts” or are “based on related legal theories,”

 and where counsel’s time is “devoted generally to the litigation as a whole, making it difficult to

 divide the hours expended on a claim-by-claim basis.” Hensley, 461 U.S. at 435; see also Dinielli

 Decl. ¶¶ 19–25. “When claims are interrelated in this manner, the district court is not required to

 sort out the hours devoted to successful claims from those expended on fruitless efforts.” McKnight

 v. Cir. City Stores, Inc., 14 F. App’x 147, 153 (4th Cir. 2001). Instead, “the district court should

 focus on the significance of the overall relief obtained by the plaintiff in relation to the hours

 reasonably expended on the litigation.” Hensley, 461 U.S. at 435; see also Prison Legal News v.

 Stolle, 129 F. Supp. 3d 390, 405 (E.D. Va. 2015) (“[T]he interrelated nature of the facts and claims

 appear to prevent the case from being effectively viewed as a series of discrete claims.” (cleaned

 up); St. John v. Thompson, 854 S.E.2d 648, 651 (Va. 2021) (upholding fee on claims “interrelated

 with the counts that were successful”); Little v. Va. Ret. Sys., No. HB 1298-2, 1992 WL 885023,

 at *11 (Va. Cir. Ct. Nov. 17, 1992) (awarding fee where “all the Petitioner’s legal theories in the

 instant case arose from a common nucleus of interrelated facts”) (subsequent history omitted).

          Here, where all of Plaintiffs’ claims were interrelated and overlapping with Count IV,

 Plaintiffs are entitled to fees on the entirety of the litigation. More specifically, in Count IV,

 Plaintiffs alleged (and proved at trial) violations of Va. Code § 8.01-42.1 by certain Defendants at

 the torch march on August 11, 2017, and by Defendant Fields during the car attack on August 12,

 2017. See ECF 1478. Plaintiffs’ other claims are interrelated with Count IV as follows:

      •   In Count I, Plaintiffs alleged a conspiracy to commit racially motivated violence under the



 11
   Because Plaintiffs voluntarily dismissed one cause of action before trial, see ECF 1238, the claim numbers in the
 jury verdict do not align with those in the operative complaint. The claim numbers from the jury verdict, ECF 1478,
 are used herein for ease of reference.


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 Ku Klux Klan Act (“KKK Act,” 42 U.S.C. § 1985(3)), predicated on facts overlapping completely

 with those underlying Count IV—i.e., the torch march on August 11 and the car attack on August

 12. See ECF 557 at ¶¶ 335–43; ECF 1454 at 153. Indeed, this Court already concluded that “the

 alleged injuries to Plaintiffs’ persons at the Friday night march, Saturday rally, and car attack,”

 which the Court relied on in “addressing the fourth and fifth elements of the Section 1985(3) claim”

 (Count I), “would all violate Virginia’s hate crime statute” (Count IV). ECF 335 at 48.

    •   Since Count II alleged that Defendants knew of the conspiracy alleged in Count I, but

 failed to prevent it, ECF 557 at ¶¶ 344–50; ECF 1454 at 149:13–19, Count II is similarly

 interrelated with Count IV.

    •   In Count III, Plaintiffs alleged (and proved) a Virginia common-law civil conspiracy, one

 of the goals of which was to violate Va. Code § 8.01-42.1 (Count IV). See ECF 335 at 48; ECF

 557 at ¶ 353(a)–(c); ECF 1454 at 151:1–8; ECF 1478 at 3.

    •   In Counts V and VI, Plaintiffs alleged (and proved) assault and battery and intentional

 infliction of emotional distress by Fields in relation to the same conduct that formed the factual

 basis for Count IV—the car attack on August 12. See ECF 557 at ¶¶ 368–72; ECF 1454 at 154:4–

 8; ECF 1478 at 8–9.

                2.      Novelty and Difficulty of the Case (Johnson Factor 2)

        Invoking statutes rarely applied in practice, and even less often successfully, Plaintiffs’

 legal claims were novel and complex. As this Court has already acknowledged, “[v]ery few courts

 have provided elaboration of [Va. Code § 8.01-42.1].” ECF 335 at 49. Indeed, a Westlaw search

 found only 25 decisions citing Section 8.01-42.1, three of which were from this litigation.

 Plaintiffs likewise faced a dearth of precedent for their KKK Act claims. As scholars have

 explained, the KKK Act has been used sparingly since its enactment. See, e.g., Michael H.




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 LeRoy, Targeting White Supremacy in the Workplace, 29 Stan. L. & Pol’y Rev. 107, 125–26

 (2018) (KKK Act “lay mostly dormant” “[f]or nearly 90 years” after enactment). And courts have

 recognized that the statute is as complex as its use here is novel. See, e.g., Knatt v. Hosp. Serv.

 Dist. No. 1 of E. Baton Rouge Par., 327 F. App’x 472, 487 (5th Cir. 2009) (“Section 1985(3) has

 unusual wording and a complex set of elements.”); Maglaya v. Kumiga, No. 14-CV-3619, 2015

 WL 4624884, at *12 (N.D. Ill. Aug. 3, 2015) (describing statute as “nuanced” and “complex”).

        In addition to the novelty and complexity of Plaintiffs’ core legal theories, their claims

 raised corollary legal and factual issues that generated further challenges. For example, Plaintiffs

 needed to address the intersection between the First Amendment—a defense frequently raised by

 Defendants—and KKK Act liability. See, e.g., ECF 209 at 8–9; ECF 213 at 2–3. Plaintiffs also

 needed to rely on circumstantial evidence to prove their civil conspiracy claim (as conspiracy cases

 often do), which “generally is more time intensive than is the development of direct evidence.”

 Saleh v. Moore, 95 F. Supp. 2d 555, 573 (E.D. Va. 2000), aff’d 11 F. App’x 241 (4th Cir. 2001).

        This litigation was also exceptionally challenging not just due to its sheer size—including

 the number of Plaintiffs, Defendants, and claims, and the resulting breadth of discovery—but

 because of Defendants’ never-ending discovery misconduct, as discussed above. Indeed, in

 granting Plaintiffs’ previous fee applications, this Court already recognized the “unique and

 complicated discovery challenges in this case.” ECF 738 at 11 (cleaned up); see also, e.g., ECF

 1486 at 14 (Defendants “forced Plaintiffs to expend[] considerable effort and resources trying to

 obtain discovery to which they were clearly entitled” (internal quotation marks omitted)); Dinielli

 Decl. ¶ 22. Other courts have similarly found the difficulties imposed by discovery misconduct,

 like that of Defendants here, to support an award of reasonable attorneys’ fees. See, e.g., Wolfe v.

 Green, No. 2:08-CV-01023, 2010 WL 3809857, at *11 (S.D. W. Va. Sept. 24, 2010) (finding “case




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 involved issues beyond those normally associated with civil rights cases,” including that

 “defendants[] obstructed the discovery process”); Saleh, 95 F. Supp. 2d at 574 (“[T]he

 unwillingness of the Defendants to cooperate in the discovery process caused the Plaintiffs to

 spend inordinate amounts of time and expense in securing information . . . . This approach made

 the resolution of the questions posed in the action far more difficult than should have been the

 case.”); Xiao-Yue Gu v. Hughes STX Corp., 127 F. Supp. 2d 751, 766 (D. Md. 2001) (“Even in the

 absence of novel questions, an expenditure of significant hours may be reasonable where ‘the case

 certainly posed difficulties from an evidentiary standpoint and required a high degree of skill to

 win.’” (quoting Herold v. Hajoca Corp., 682 F. Supp. 297, 300 (W.D. Va. 1988))).

                3.     Opportunity Costs, Time Limitations Imposed by the Circumstances,
                       and Undesirability of the Case (Johnson Factors 4, 7 & 10)

        The opportunity costs for Plaintiffs’ counsel in pursuing this litigation (Johnson factor 4)

 were obviously quite high. Plaintiffs’ counsel committed more than four years to this case, with

 dozens of lawyers and paralegals spending many times the 46,950.2 hours being sought here—

 time that they otherwise could have committed to matters at their full New York and Washington,

 D.C. rates. See, e.g., Irwin Indus. Tool Co. v. Worthington Cylinders Wisc., LLC, 747 F. Supp. 2d

 568, 596 (W.D.N.C. 2010). In addition, the protracted discovery caused by Defendants’ constant

 non-compliance only exacerbated these opportunity costs. See, e.g., Trans-Radial Sols., LLC v.

 Burlington Med., LLC, No. 2:18-CV-656, 2019 WL 6107858, at *4 (E.D. Va. Nov. 15, 2019).

        Adding to these opportunity costs was the “undesirability” of the case (Johnson factor

 10)—namely, the risks of litigating against Defendants who are known to be violent, associate

 with violent hate groups, or otherwise have the capacity to motivate and mobilize others to commit

 violence, including through social media. As the Johnson court explained, “[C]ivil rights attorneys

 face hardships in their communities. . . . Oftentimes, [their] decision to help eradicate



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 discrimination is not pleasantly received by the community or [their] contemporaries.” 488 F.2d

 at 719; see also Dinielli Decl. ¶ 18(c). While Plaintiffs’ counsel did not experience such a reception

 from the Charlottesville community, they did from Defendants and their “community.” To give

 one key example, Plaintiffs’ counsel, Ms. Kaplan, was subjected to threats throughout the

 litigation, including Cantwell stating, “After this stupid kike whore loses this fraudulent lawsuit,

 we’re going to have a lot of fucking fun with her.” ECF 511-2; see ECF 330-9, 330-10, 511-4.

                4.      Successful Outcome (Johnson Factor 8)

        Where, as here, “a plaintiff has obtained excellent results, [the plaintiff’s] attorney should

 recover a fully compensatory fee.” Hensley, 461 U.S. at 435. Plaintiffs prevailed on four of their

 six claims, lost none (since the jury hung on the other two), and were awarded $26 million in

 damages. ECF 1478. The number of hours that Plaintiffs’ counsel are requesting is reasonable

 considering the excellent outcome achieved for their clients. See, e.g., McAfee, 738 F.3d at 88 n.5;

 Schlegel, 628 S.E.2d at 369; Couch v. Manassas Autocars, Inc., 77 Va. Cir. 30, *5 (2008)

 (prevailing on two of six counts considered “highly successful”).

                5.      Fee Awards in Other Cases (Johnson Factor 12)

        While it is difficult to find cases that would be a close comparator to this one in terms of

 the overall length of the litigation; the number of parties and third parties; the number, complexity,

 and novelty of the claims; the degree of discovery misconduct; and the reasonable market rates for

 attorney services, Plaintiffs’ fee request is reasonable when compared to fee awards in other,

 similar cases. Indeed, courts routinely approve fee awards to the tune of millions of dollars in

 similar cases featuring mitigating factors that are absent here, such as shorter durations, fewer

 parties, less discovery misconduct, and shorter trials. See Dinielli Decl. ¶ 27. See also, e.g., C.P.X.

 v. Garcia, No. 4:17-CV-00417, 2021 WL 302754, at *6 (S.D. Iowa Jan. 7, 2021) ($4,540,762.90

 in fees in civil rights case with hourly rates statutorily capped below prevailing market rates for 19


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 attorneys, six paralegals, one intern, and one litigation analyst in 18-month lawsuit with

 voluminous, disorganized discovery, and nine-day bench trial), aff’d, No. 21-1206, 2021 WL

 5917780 (8th Cir. Dec. 15, 2021); Veasey v. Abbott, No. 2:13-CV-193, 2020 WL 9888360, at *48

 (S.D. Tex. May 27, 2020) ($5,851,388.28 in fees with hourly rates up to $600 for 15-month

 litigation with three-week bench trial and numerous post-trial appeals and decisions, involving

 attorneys from 13 law firms and public interest organizations), aff’d, 13 F.4th 362 (5th Cir. 2021);

 Campbell v. Barnes, No. 30-2020-01141117 (Cal. Super. Ct. Jan. 20, 2022) ($2,974,082 in fees in

 civil-rights case with more than 19 months of litigation and two weeks of trial-like evidentiary

 hearings, involving 14 attorneys from two law firms and one public-interest organization).

        D.      The Lodestar Amount Is Reasonable and There Is No Basis for Adjustment

        “The Supreme Court has indulged a ‘strong presumption’ that the lodestar number

 represents a reasonable attorney’s fee.” McAfee, 738 F.3d at 88–89 (discussing Perdue v. Kenny

 A., 559 U.S. 542 (2010)). That presumption holds here. Plaintiffs’ counsel engaged in a

 complicated, four-year lawsuit, made even more challenging (and costly) by Defendants’

 intentional discovery misconduct, ultimately achieving a resounding victory for their clients at

 trial. Now, Plaintiffs are seeking a conservative lodestar amount, including by using previously

 approved and reasonable local Charlottesville rates, excluding dozens of timekeepers who devoted

 thousands of additional hours to litigating this case, and eliminating duplicative, administrative,

 and other non-legal work from counsel’s time entries. See Barkai Decl. ¶ 23.

        While at the second and third stages of the lodestar analysis, the Court is supposed to

 “subtract fees for hours spent on unsuccessful claims unrelated to successful ones” and award a

 “percentage of the remaining amount, depending on the degree of success enjoyed by the plaintiff,”

 McAfee, 738 F.3d at 88 (emphasis added), no such adjustments are warranted here. First, since all

 of Plaintiffs’ claims are interrelated, see supra at pp. 17–18, there is no justification for any such


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 subtraction. See, e.g., Knussman, 73 F. App’x at 613 (only time on “unrelated” claims need be

 excluded); Taylor, 2014 WL 325169, at *3, 7 (same); Salim, 2016 WL 2930943, at *4 (same).

 Similarly, because Plaintiffs’ “litigation as a whole” resulted in an “overall success,” there is no

 cause to reduce the award by any percentage. Certain v. Potter, 330 F. Supp. 2d 576, 587

 (M.D.N.C. 2004); see also Johnson v. Hugo’s Skateway, 974 F.2d 1408, 1419 (4th Cir. 1992);

 Univ. Support Servs., Inc. v. Galvin, No. 126614, 1996 WL 1065541, at *6 (Va. Cir. Ct. May 20,

 1996) (“[I]n cases such as this one where the causes of action are interrelated, a mathematical

 approach comparing the number of issues in the case to the issues prevailed upon, is not

 appropriate.” (citing Hensley, 461 U.S. at 435–36 n.11)); Dinielli Decl. ¶¶ 19–25.

        E.      Plaintiffs Should Be Awarded Fees for Their Time Preparing This Motion

        Plaintiffs also request $73,677.00 in fees for their counsel’s time preparing this Motion.

 See Va. Code § 8.01-42.1; see also Salim, 2016 WL 2930943, at *15–16. This amount is

 reasonable, as it again only includes the time of certain timekeepers (seven timekeepers from two

 of three firms), understating the time actually spent on the Motion. It is also well within the range

 of what courts have approved for similar applications. E.g., Courthouse News Serv. v. Schaefer,

 484 F. Supp. 3d 273, 280 (E.D. Va. 2020) (awarding $50,000 for time spent on fee petition).

 II.    An Award of Costs Is Warranted

        In addition to their reasonable attorneys’ fees, Plaintiffs are seeking an award of

 $1,812,607.70 in costs, including: (1) $546,018.46 in costs under Federal Rule of Civil Procedure

 54(d) and Va. Code § 8.01-42.1(B); and (2) reimbursement of $1,266,420.84 in costs that Plaintiffs

 paid to the third-party discovery vendor, iDS, pursuant to the Court’s Order, ECF 383.

        A.      As the Prevailing Party, Plaintiffs Enjoy a Presumption in Favor of an Award
                of Costs

        Federal Rule of Civil Procedure 54(d) provides, in relevant part, that “[u]nless a federal



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 statute, [the Federal Rules], or a court order provides otherwise, costs—other than attorney’s

 fees—should be allowed to the prevailing party.” Fed. R. Civ. P. 54(d).12 A prevailing party is one

 who prevails “on any significant claim affording some of the relief sought.” Broccoli v. Echostar

 Commc’ns Corp., 229 F.R.D. 506, 514 (D. Md. 2005) (cleaned up). In the Fourth Circuit, “this

 provision [] create[s] a presumption in favor of awarding costs to the prevailing party.” Est. of

 Ward v. Trans Union Corp., No. 4:04-CV-88, 2009 WL 10705140, at *1 (E.D.N.C. Feb. 25, 2009).

 Separately, Va. Code § 8.01-42.1(B) provides that “[a]ny aggrieved party who initiates and

 prevails in” an action brought under the statute is, in the discretion of the court, entitled “to an

 award of the cost of the litigation . . . in an amount to be fixed by the court.”

          Plaintiffs easily qualify for this presumption in favor of awarding costs under Rule 54(d):

 the jury returned a verdict in Plaintiffs’ favor on four of their six claims, accompanied by a $26

 million damages award, thereby affording Plaintiffs more than just “some of the relief sought.”

 Broccoli, 229 F.R.D. at 514. Courts have readily deemed litigants the “prevailing party” under

 similar circumstances. See, e.g., Clark v. Milam, 891 F. Supp. 268, 272 (S.D. W. Va. 1995) (finding

 prevailing party where jury returned verdict in their favor on two of four counts and awarded over

 $13 million) (subsequent history omitted).

          Accordingly, Plaintiffs seek their eligible costs in this case, including court, docket, and

 service fees, as well as necessary transcript, printing, and copying fees. These costs, totaling

 $546,018.46, are outlined in detail in the Barkai Declaration and Exhibits B–T thereto, which

 include the actual vendor invoices enumerating these costs.




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   “Costs” under Rule 54(d) are “defined by the categories of expenses enumerated in 28 U.S.C. § 1920,” Arlington
 Cent. Sch. Dist. Bd. of Educ. v. Murphy, 548 U.S. 291, 292 (2006), including, among other things, “[f]ees of the clerk
 and marshal,” “[f]ees for printed or electronically recorded transcripts necessarily obtained for use in the case,” and
 “[f]ees for exemplification and the costs of making copies of any materials where the copies are necessarily obtained
 for use in the case,” 28 U.S.C. § 1920.


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        B.      Plaintiffs Should Be Reimbursed for the Costs of the Court-Approved, Third-
                Party Discovery Vendor

        Finally, Plaintiffs seek reimbursement of the $1,266,420.84 they incurred for the Court-

 approved, third-party discovery vendor, iDS. As described above, supra at p. 6, pursuant to this

 Court’s Order, Plaintiffs paid iDS to image, preserve, and produce information from Defendants’

 electronic devices after they refused to comply with their discovery obligations. See ECF 379, 383.

        Under the discovery rules, “the presumption is that the responding party”—here,

 Defendants—“must bear the expense of complying with discovery requests.” Zubulake v. UBS

 Warburg LLC, 217 F.R.D. 309, 316 (S.D.N.Y. 2003); see also, e.g., TBC, Inc. v. DEI Sales, Inc.,

 No. CCB-14-3644, 2017 WL 4151261, at *7 (D. Md. Sept. 19, 2017) (same). Early in this case,

 however, Defendants objected to bearing the costs of their own document preservation and

 production. See ECF 354 at 13–14. Defendants offered only conclusory statements regarding the

 burden and expense of compliance with discovery, which do not suffice. See, e.g., Ashmore v.

 Allied Energy, Inc., No. 8:14-CV-00227, 2016 WL 301169, at *3 (D.S.C. Jan. 25, 2016);

 Thompson v. U.S. Dep’t of Hous. & Urban Dev., 219 F.R.D. 93, 98 (D. Md. 2003). Nonetheless,

 “Plaintiffs agreed to front the costs of imaging and collecting this ESI, at least for the time being,

 to keep the case moving forward.” ECF 933 at 10.

        Under the imaging order entered by the Court, Plaintiffs maintained their right to later seek

 to recoup the costs of the third-party discovery vendor, which they never should have had to bear

 in the first instance. See ECF 379, 383. And that is what Plaintiffs are doing now. Defendants’

 continued disregard for their discovery obligations, which persisted even after Plaintiffs agreed to

 temporarily bear the costs of Defendants’ electronic discovery, see supra at pp. 6–8, further

 confirms that Plaintiffs should be reimbursed for these discovery-related costs.




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                                         CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court award Plaintiffs

 reasonable attorneys’ fees in the amount of $12,726,103.85 and costs in the amount of

 $1,812,439.30, and order such other further relief as the Court deems necessary and appropriate.



 Date: March 9, 2022                                  Respectfully submitted,




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